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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         NORTHERN DIVISION

CHEY DAVIS,

      Plaintiff,                                     USDC Case No. 22-12319

                                                     Saginaw County Circuit Court
DELTA COLLEGE and                                    Case No. 22-47873-CZ
JEAN GOODNOW, Retired President of
Delta College, in her individual capacity,

      Defendants.


PINSKY, SMITH, FAYETTE &                     THRUN LAW FIRM, P.C.
KENNEDY, LLP                                 Roy H. Henley (P39921)
Sarah Riley Howard (P58531)                  Attorneys for Defendant Delta College
Attorneys for Plaintiff                      P.O. Box 2575
146 Monroe Center, N.W., Suite 418           East Lansing, MI 48826
Grand Rapids, MI 49503                       (517) 374-8864/(517) 484-0041 (Fax)
(616) 451-8496                               RHenley@ThrunLaw.com
showard@psfklaw.com
                                             KELLER THOMA, P.C.
                                             Gouri G. Sashital (P64628)
                                             Attorneys for Defendant Jean Goodnow
                                             26555 Evergreen Road, Suite 550
                                             Southfield, MI 48076
                                             (313) 965-7610/(313) 965-4480 (Fax)
                                             gsr@kellerthoma.com


                            NOTICE OF REMOVAL

TO: Sarah Riley Howard
    Pinsky, Smith, Fayette & Kennedy, LLP
    146 Monroe Center, N.W., Suite 418
    Grand Rapids, MI 49503
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      Clerk of the Court
      Saginaw County Circuit Court
      111 S. Michigan Avenue
      Saginaw, MI 48602

      PLEASE TAKE NOTICE that the above-named Defendants, DELTA

COLLEGE, by its attorneys, THE THRUN LAW FIRM, and JEAN

GOODNOW, by her attorneys, KELLER THOMA, P.C., file this Notice of

Removal pursuant to 28 U.S.C. §1441 and 28 U.S.C. §1446, and remove the above-

captioned action from the Circuit Court for the County of Saginaw, State of

Michigan to the United States District Court for the Eastern District of Michigan,

Northern Division, for the following reasons:

           COMMENCEMENT OF ACTION IN STATE COURT

      1.    On or about August 12, 2022, Plaintiff Chey Davis (“Plaintiff”) filed a

civil action against Defendants Delta College and Jean Goodnow (“Defendants”) in

the Circuit Court for the County of Saginaw, State of Michigan, entitled Chey Davis

v. Delta College and Jean Goodnow, Retired President of Delta College, in her

individual capacity, Saginaw County Circuit Court Case No. 22-47873-CZ.

      2.    Plaintiff’s Complaint alleges violations of the Michigan Elliott-Larsen

City Rights Act (“ELCRA”), M.C.L. §37.2101, et seq., and 42 U.S.C. §1983 based

upon alleged violations of the First Amendment to the United States Constitution.

      3.    On or about September 14, 2022, Plaintiff served a summons and copy

of the Complaint on Defendant Delta College. Defendant Delta College has not yet

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answered Plaintiff’s Complaint, and the time for answering the Complaint has not

expired.

      4.     On or about September 14, 2022, Plaintiff served a summons and copy

of the Complaint on Defendant Jean Goodnow. Defendant Goodnow has not yet

answered Plaintiff’s Complaint, and the time for answering the Complaint has not

expired.

      5.     No further proceedings have occurred in the Saginaw County Circuit

Court action.

                     JURISDICTIONAL AND
            PROCEDURAL REQUIREMENTS FOR REMOVAL

      6.     Pursuant to 29 U.S.C. § 1446(b)(1), this Notice of Removal is being

filed within thirty (30) days after service of Plaintiff’s Complaint on Defendants.

      7.     Pursuant to 28 U.S.C. §1446(a), a copy of all process, pleadings and

orders served upon Defendants are attached hereto. (Ex.1, Complaint and Summons

and Acknowledgment).

      8.     Pursuant to 28 U.S.C. §1331, this Court has federal question

jurisdiction over this matter, since Plaintiff’s Complaint involves claims arising

under 42 U.S.C. §1983 and the First Amendment to the United States Constitution.

      9.     Pursuant to 28 U.S.C. §1367, this Court has supplemental jurisdiction

over Plaintiff’s ELCRA claim brought under Michigan law because her ELCRA




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claim is so related to her claims arising under 42 U.S.C. §1983 that they constitute

the same case or controversy under Article III of the United States Constitution.

      10.      Pursuant to 28 U.S.C. §1441(a), the alleged events giving rise to

Plaintiff’s claims occurred in Saginaw County, Michigan, in the federal judicial

district for the Eastern District of Michigan, Northern Division.

      11.      Pursuant to 28 U.S.C. §1446(b), the time to remove this action has not

yet expired.

      12.      Pursuant to 28 U.S.C. §1446(b)(2)(A), all Defendants have joined in

and consented to file this Notice of Removal.

      13.      Pursuant to 28 U.S.C. §1446(d), Defendant served this Notice of

Removal on all adverse parties and the Saginaw County Circuit Court.

      WHEREFORE, Defendants, DELTA COLLEGE and JEAN GOODNOW,

respectfully request that this action now pending in the Circuit Court for the County

of Saginaw, State of Michigan, be removed to this Court.

                                        Respectfully submitted,

                                        KELLER THOMA, P.C.

                                        By: /s/ Gouri G. Sashital
                                              Gouri G. Sashital (P64628)
                                        Attorneys For Defendant Jean Goodnow
                                        26555 Evergreen Road, Suite 550
                                        Southfield, MI 48076
                                        313.965.8936
                                        gsr@kellerthoma.com


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                                       THE THRUN LAW FIRM

                                       By: /s/ Roy H. Henley (w/consent)
                                       Roy H. Henley (P39921)
                                       Attorneys for Defendant Delta College
                                       P.O. Box 2575
                                       East Lansing, MI 48826
                                       (517) 374-8864
                                       RHenley@ThrunLaw.com


Dated: September 30, 2022

                           CERTIFICATE OF SERVICE

       I hereby certify that on September 30, 2022, I electronically filed the
foregoing Notice of Removal with the Clerk of the Court of the United States District
Court using the ECF system, and served a copy via U.S. Mail and electronic mail to
the following parties:
                   Sarah Riley Howard
                   Pinsky, Smith, Fayette & Kennedy, LLP
                   146 Monroe Center, N.W., Suite 418
                   Grand Rapids, MI 49503
                   showard@psfklaw.com

                   Roy H. Henley
                   Thrun Law Firm
                   P.O. Box 2575
                   East Lansing, MI 48826
                   RHenley@ThrunLaw.com

And via email filing to:

                   Clerk of the Court
                   Saginaw County Circuit Court
                   circuitcourtrecordsfiling@saginawcounty.com

                                             /s/ Gouri G. Sashital
                                             Gouri G. Sashital (P64628)

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                             EXHIBIT 1
